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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


ANALOG DEVICES, INC. and HITTITE
MICROWAVE LLC,
     Plaintiffs,

                 v.                                   C.A. No. 1:18-cv-11028-GAO

MACOM TECHNOLOGY SOLUTIONS
HOLDINGS, INC. and MACOM
TECHNOLOGY SOLUTIONS INC.,
     Defendants.


                        UNOPPOSED AND PARTIALLY ASSENTED-TO
                      MOTION OF DEFENDANTS TO ENLARGE THE TIME
                       FOR RESPONDING TO PLAINTIFFS’ COMPLAINT

        Defendants hereby move in accordance with Rule 6(b) of the Federal Rules of Civil

Procedure that this Court extend up to and including July 27, 2018 the time by which Defendants

must respond to Plaintiffs’ Complaint. Plaintiffs’ counsel has assented to a thirty-day extension

and does not oppose the requested, forty-five-day extension.

        As grounds for this forty-five-day extension, Defendants state as follows:

        1.       Plaintiffs filed this action on May 21, 2018 and served the Complaint on both

Defendants on May 22, 2018. Defendants’ response to the Complaint is presently due on June 12,

2018.

        2.       Plaintiffs’ Complaint is forty-five (45) pages long, comprised of 182 numbered

paragraphs, and appends eleven exhibits. Defendants first learned of this lawsuit on or about May

21, 2018 and had no previous notice of its filing. To prepare their response to the Complaint,

Defendants require additional time to gather necessary information.
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        3.       This is the first extension sought by Defendants. Allowance of this motion is in

the interests of justice, and no party will be prejudiced by the extension of time requested herein.

        4.       Plaintiffs, through counsel, have assented to a thirty-day extension. Defendants’

counsel seeks to extend its response deadline by fifteen more days due to planned vacations of

two of its counsel. Plaintiffs’ counsel has stated that they will neither oppose, nor assent, to this

additional, fifteen-day extension.

        WHEREFORE, Defendants MACOM Technology Solutions Holdings, Inc. and

MACOM Technology Solutions Inc. request that this Court allow this Motion and extend the time

by which they must respond to Plaintiffs’ Complaint up to and including July 27, 2018.

                                                MACOM TECHNOLOGY SOLUTIONS
                                                HOLDINGS, INC. and MACOM
                                                TECHNOLOGY SOLUTIONS INC.,

                                                By their attorneys,

                                                /s/ C. Max Perlman
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Dated: June 7, 2018

                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        Counsel for Plaintiffs and Defendants have conferred regarding the matter addressed
herein, and counsel for Plaintiffs partially assents to and does not oppose this Motion.

                                              /s/ C. Max Perlman
                                              C. Max Perlman

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on June 7, 2018

                                              /s/ C. Max Perlman
                                              C. Max Perlman




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